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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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John Doe,

                          Plaintiff,                                   No. 1:24-cv-07772

                 v.

SEAN COMBS, DADDY’S HOUSE RECORDINGS INC.,
CE OPCO, LLC d/b/a COMBS GLOBAL f/k/a
COMBS ENTERPRISES LLC, BAD BOY
ENTERTAINMENT HOLDINGS, INC.,
BAD BOY PRODUCTIONS HOLDINGS, INC.,
BAD BOY BOOKS HOLDINGS, INC., BAD BOY
RECORDS LLC, BAD BOY ENTERTAINMENT LLC,
BAD BOY PRODUCTIONS LLC,
and ORGANIZATIONAL DOES 1-10.

                          Defendants.

-------------------------------------------------------X

                  DECLARATION OF ANTHONY G. BUZBEE IN SUPPORT

                OF PLAINTIFF’S MOTION TO PROCEED ANONYMOUSLY

I, Anthony G. Buzbee, hereby declare as follows:

        1.       I am the owner of The Buzbee Law Firm and counsel for John Doe.

        2.       I make this Declaration in support of Plaintiff’s motion to proceed anonymously.

        3.       If required by this Court, I will disclose Plaintiff’s name to counsel for Defendants.

However, I would request a hearing prior to any such order in light of the threats of violence made

Defendants in similar circumstances.

        4.       Plaintiff is by no means the only victim of Mr. Combs to fear violence in retribution

for coming forward. My firm currently represents over 200 clients with claims against Mr. Combs.

Strikingly, an overwhelming number of these clients – likely in excess of eighty percent – have
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stated to me or attorneys at my firm, during their intake process, that Mr. Combs made threats of

violence against them (or against the client’s family members) if the client disclosed to anyone the

facts of the sexual assaults or other acts of Mr. Combs’ of which they were a victim.

       5.      For many of the clients referenced above, Mr. Combs’ threats of violence were a

primary reason why they did not speak out or file lawsuits earlier. Most of our clients still fear

retribution and have conditioned moving forward on anonymity.

       6.      With regard to this action, Plaintiff John Doe has not spoken publicly about the

incidents that underlie the causes of action in his Complaint.

Dated: OCTOBER 16, 2024

                                              /s/ Anthony G. Buzbee
                                              Anthony G. Buzbee
